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                                                                              APPEAL, LC−1, RELEASED
                                   U.S. District Court
          U.S. District Court for the Northern District of Oklahoma (Tulsa)
             CRIMINAL DOCKET FOR CASE #: 4:09−cr−00043−SPF−1

  Case title: USA v. Springer et al                             Date Filed: 03/10/2009
  Other court case number: 09−5165 10th Circuit Court           Date Terminated: 04/28/2010


  Assigned to: Judge Stephen P Friot


  Defendant (1)
  Lindsey Kent Springer                   represented by Lindsey Kent Springer
  TERMINATED: 04/28/2010                                 5147 S HARVARD AVE STE 116
                                                         TULSA, OK 74135
                                                         918−748−5539
                                                         Fax: 918−247−4249
                                                         Email: lindsey@mindspring.com
                                                         PRO SE

                                                        Robert Scott Williams
                                                        Taylor Ryan Schmidt &Van Dalsem, P.C.
                                                        1437 S BOULDER STE 850
                                                        TULSA , OK 74119
                                                        918−749−5566
                                                        Fax: 918−749−9531
                                                        Email: law@trsvlaw.com
                                                        TERMINATED: 04/27/2010
                                                        LEAD ATTORNEY
                                                        Designation: Public Defender or Community Defender
                                                        Appointment


  Pending Counts                                        Disposition
  18 USC 371: Conspiracy to Defraud
                                                        BOP 60 months; SR 3 years; Restitution $771,529;
  the United States
                                                        SMA $100
  (1)
  26 USC 7201: Tax Evasion                              BOP 60 months consecutive to Ct 1; SR 3 years; SMA
  (2)                                                   $100
  26 USC 7201: Tax Evasion and 18
                                                        BOP 60 months consecutive to Ct 12 SR 3 years;
  USC 2
                                                        SMA $100
  (3)
  26 USC 7201: Tax Evasion and 18
                                                        BOP 60 months concurrent to Ct 1,2,3; SR 3 years;
  USC 2
                                                        SMA $100
  (4)
  26 USC 7203: Failure to File Tax                      BOP 12 months concurrent to Ct 1,2,3; SR 1 year;
  Return                                                SMA $25
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  (5−6)


  Highest Offense Level (Opening)
  Felony


  Terminated Counts                                      Disposition
  None


  Highest Offense Level
  (Terminated)
  None


  Complaints                                             Disposition
  None



  Plaintiff
  USA                                              represented by Charles Anthony O'Reilly
                                                                  US Department of Justice (Box 972)
                                                                  P O Box 972
                                                                  Washington , DC 20044
                                                                  202−616−0115
                                                                  Email: charles.a.o'reilly@usdoj.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                  Kenneth P Snoke
                                                                  United States Attorney's Office (Tulsa)
                                                                  110 W 7TH ST STE 300
                                                                  TULSA , OK 74119−1013
                                                                  918−382−2700
                                                                  Fax: 918−560−7946
                                                                  Email: ken.snoke@usdoj.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

   Date Filed       #     Page Docket Text

   03/10/2009         1        DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                               Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains
                               One or More Restricted PDFs

   03/10/2009         2        INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3−4,
                               5−6, Oscar Amos Stilley (2) count(s) 1, 3−4 (pll, Dpty Clk) (Entered:
                               03/10/2009)

   03/10/2009         3        SUMMONS Issued by Court Clerk as to Lindsey Kent Springer (pll, Dpty Clk)
                               (Entered: 03/10/2009) Contains One or More Restricted PDFs
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   03/18/2009     5       MOTION for Electronic Access by Lindsey Kent Springer as to Lindsey Kent
                          Springer (sjm, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009     6       MOTION for In Camera Review of Fifth Amendment Proffer by Lindsey Kent
                          Springer (sjm, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009     7       BRIEF in Support of Motion (Re: 6 MOTION for In Camera Review of Fifth
                          Amendment Proffer ) by Lindsey Kent Springer (sjm, Dpty Clk) (Entered:
                          03/18/2009)

   03/18/2009     8       MOTION for Bill of Particulars by Lindsey Kent Springer (sjm, Dpty Clk)
                          (Entered: 03/18/2009)

   03/18/2009     9       MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge James
                          H Payne, this case is hereby returned to the Court Clerk for further
                          reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009    10       MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary: Initial
                          Appearance held on 3/18/2009, Arraignment held on 3/18/2009, appointing
                          CJA attorney Robert Scott Williams for Lindsey Kent Springer,
                          setting/resetting bond as to Lindsey Kent Springer (Court Reporter: C1) (kjp,
                          Dpty Clk) (Entered: 03/18/2009)

   03/18/2009    11       ORDER by Magistrate Judge Paul J Cleary (for purposes of initial appearance
                          only), appointing CJA attorney as to Lindsey Kent Springer (kjp, Dpty Clk)
                          (Entered: 03/18/2009)

   03/18/2009    12       ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as to
                          Lindsey Kent Springer (kjp, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009    13       BOND approved by Magistrate Judge Paul J Cleary as to Lindsey Kent
                          Springer (kjp, Dpty Clk) (Entered: 03/18/2009)

   03/19/2009    18       ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                          representation, setting/resetting deadline(s)/hearing(s): (copy of Order mailed
                          to both defendants on 3/19/09) ( Miscellaneous Deadline set for 3/30/2009) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk) (Entered:
                          03/19/2009)

   03/23/2009    19       RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for Electronic
                          Access, 7 Brief in Support of Motion, 6 MOTION for In Camera Review of
                          Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (Snoke, Kenneth) (Entered: 03/23/2009)

   03/24/2009    20       MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent Springer
                          as to Lindsey Kent Springer (Williams, Robert) Modified on 3/25/2009 to
                          reference to Oscar Stilley (tjc, Dpty Clk). (Entered: 03/24/2009)

   03/24/2009    21       MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by Lindsey
                          Kent Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                          3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk). (Entered:
                          03/24/2009)

   03/25/2009             NOTICE of Docket Entry Modification; Error: During e−filing the attorney was
                          prompted to select a case, all defendants were selected; Correction: Edited
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                          docket text to remove Oscar Stilley as these pleadings did not name him (Re:
                          20 MOTION to Withdraw Attorney(s), 21 MOTION for Hearing ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          03/25/2009)

   03/25/2009    22       MINUTE ORDER by Magistrate Judge Paul J Cleary, setting/resetting
                          deadline(s)/hearing(s): ( Miscellaneous Hearing set for 3/30/2009 at 02:30 PM
                          before Magistrate Judge Paul J Cleary) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (kjp, Dpty Clk) (Entered: 03/25/2009)

   03/30/2009    23       MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                          Miscellaneous Hearing held on 3/30/2009 re Representation; Defendants Waive
                          Counsel, ruling on motion(s)/document(s): #5 granted, striking/terminating
                          deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar Amos Stilley (Re: 5
                          MOTION for Electronic Access ) (Court Reporter: C1) (kjp, Dpty Clk)
                          (Entered: 03/31/2009)

   03/31/2009    24       MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                          Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                          assigned to case, changing case number to 09−CR−43−SPF as to Lindsey Kent
                          Springer, Oscar Amos Stilley (a−hc, Dpty Clk) (Entered: 03/31/2009)

   04/01/2009    25       MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)

   04/02/2009    26       ORDER by Judge Stephen P Friot (Protective Order), ruling on
                          motion(s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/02/2009)

   04/03/2009    27       ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                          adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                          Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                          #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                          Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)

   04/07/2009    29       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot,
                          Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge Stephen P
                          Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In Camera
                          Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)

   04/07/2009    30       MOTION to Clarify appointment of Honorable Judge Stephen P. Friot by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 04/07/2009)

   04/08/2009    32       ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
                          30 MOTION to Clarify appointment of Honorable Judge Stephen P. Friot ) as
                          to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/08/2009)

   04/10/2009    33       MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)

   04/10/2009    34       ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
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                          33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/10/2009)

   04/13/2009    35       MOTION for Protective Order Pending Prospective Franks Hearing by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          04/13/2009)

   04/13/2009    36       MOTION to Unseal Document(s) in 03−CR−55E (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 04/13/2009)

   04/13/2009    37       MOTION Request for Release of Affidavit and Transcript surrounding issuance
                          of Search Warrant dated 9.15.05 by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 04/13/2009)

   04/13/2009    38       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot)
                          (Re: 37 MOTION Request for Release of Affidavit and Transcript surrounding
                          issuance of Search Warrant dated 9.15.05, 35 MOTION for Protective Order
                          Pending Prospective Franks Hearing, 36 MOTION to Unseal Document(s) in
                          03−CR−55E ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered:
                          04/13/2009)

   04/15/2009    39       MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)

   04/15/2009    40       NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
                          UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                          FROM CASE 03−CR−043−CVE (Re: 39 MOTION Unopposed Motion for
                          Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                          03−CR−055−CVE ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)

   04/16/2009    41       ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09 (Re:
                          39 MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/16/2009)

   04/16/2009    42       RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION Request
                          for Release of Affidavit and Transcript surrounding issuance of Search Warrant
                          dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for Bill of
                          Particulars, 35 MOTION for Protective Order Pending Prospective Franks
                          Hearing, 30 MOTION to Clarify appointment of Honorable Judge Stephen P.
                          Friot, 6 MOTION for In Camera Review of Fifth Amendment Proffer, 36
                          MOTION to Unseal Document(s) in 03−CR−55E ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          04/16/2009)

   04/22/2009    43       MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009, ruling
                          on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39 Granted
                          in Part, Denied in part, taking motion(s) under advisement, setting/resetting
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                          deadline(s)/hearing(s): ( Motions due by 6/1/2009, Responses due by
                          6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM before Judge Stephen
                          P Friot, Jury Instructions, Voir Dire &Trial Briefs due by 8/3/2009, Pretrial
                          Conference set for 10/21/2009 at 10:00 AM before Judge Stephen P Friot, Jury
                          Trial set for 10/26/2009 at 09:30 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Re: 37 MOTION Request for
                          Release of Affidavit and Transcript surrounding issuance of Search Warrant
                          dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for Bill of
                          Particulars, 39 MOTION Unopposed Motion for Limited Unsealing of Search
                          Warrant and Affidavit and Materials from Case 03−CR−055−CVE, 35
                          MOTION for Protective Order Pending Prospective Franks Hearing, 30
                          MOTION to Clarify appointment of Honorable Judge Stephen P. Friot, 6
                          MOTION for In Camera Review of Fifth Amendment Proffer, 36 MOTION to
                          Unseal Document(s) in 03−CR−55E ) (Court Reporter: Tracy Washbourne)
                          (pll, Dpty Clk) (Entered: 04/22/2009)

   04/27/2009    44       REPLY to Response to Motion (Re: 35 MOTION for Protective Order Pending
                          Prospective Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 04/27/2009)

   04/29/2009    46       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                          5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc # 45
                          for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or More
                          Restricted PDFs

   04/30/2009    45       ORDER by Judge Stephen P Friot directing surreply (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing, 44 Reply to Response
                          to Motion ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/30/2009)

   05/01/2009             NOTICE of Docket Entry Modification; Error: Duplicate entry, ENTERED IN
                          ERROR; Correction: Sealed PDF as this was a duplicate entry; see Doc # 45 for
                          correct entry (Re: 46 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s),, ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (tjc, Dpty Clk) (Entered: 05/01/2009)

   05/01/2009    47       NOTICE of Request pursuant to Fed.R.Cr.Pr.Rule 16(a)(1)(G) as to Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/01/2009)

   05/06/2009    48       SURREPLY to Motion (Re: 35 MOTION for Protective Order Pending
                          Prospective Franks Hearing ) by USA as to Lindsey Kent Springer (Snoke,
                          Kenneth) (Entered: 05/06/2009)

   05/08/2009    49       MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                          Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                          Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
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                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s) ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          05/08/2009)

   05/12/2009    50       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                          Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing set
                          for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)

   05/15/2009    51       First MOTION to Dismiss Indictment/Information/Complaint for lack of venue
                          (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)

   05/15/2009    52       First BRIEF in Support of Motion (Re: 51 First MOTION to Dismiss
                          Indictment/Information/Complaint for lack of venue ) by Lindsey Kent Springer
                          (With attachments) (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    53       Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995 (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    54       Second BRIEF in Support of Motion (Re: 53 Second MOTION to Dismiss
                          Indictment/Information/Complaint for violations of Paperwork Reduction Act
                          of 1995 ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          (Entered: 05/15/2009)

   05/15/2009    55       Third MOTION to Dismiss Indictment/Information/Complaint pursuant to CIR
                          v. Duberstein (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 05/15/2009)

   05/15/2009    56       Third BRIEF in Support of Motion (Re: 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    57       Fourth MOTION to Dismiss Indictment/Information/Complaint for failure to
                          allege tax deficiency element (Re: 2 Indictment ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    58       Fourth BRIEF in Support of Motion (Re: 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element )
                          by Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    59       Fifth MOTION to Dismiss Indictment/Information/Complaint on Fifth
                          Amendment Grounds (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 05/15/2009)

   05/15/2009    60       Fifth BRIEF in Support of Motion (Re: 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
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   05/15/2009    61       Sixth MOTION to Dismiss Count(s) One, Two, Three and Four (Re: 2
                          Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)

   05/15/2009    62       Sixth BRIEF in Support of Motion (Re: 61 Sixth MOTION to Dismiss Count(s)
                          One, Two, Three and Four ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 05/15/2009)

   05/15/2009    63       Seventh MOTION to Dismiss Indictment/Information/Complaint for failure to
                          allege certain specific provisions (Re: 2 Indictment ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    64       Seventh BRIEF in Support of Motion (Re: 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)

   05/15/2009    65       Eighth MOTION to Dismiss Indictment/Information/Complaint violation of
                          Fourth/Fifth Amendment and Selective Prosecution (Re: 2 Indictment ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    66       Eighth BRIEF in Support of Motion (Re: 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution ) by Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 05/15/2009)

   05/15/2009    67       MOTION to Dismiss Indictment/Information/Complaint for fraud and violation
                          of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as to Oscar
                          Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove defendant
                          Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)

   05/15/2009    68       BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                          Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint )
                          by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified on
                          5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk). (Entered:
                          05/15/2009)

   05/15/2009    69       JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                          Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                          from text (lml, Dpty Clk). (Entered: 05/15/2009)

   05/18/2009             NOTICE of Docket Entry Modification; Error: These documents were filed as
                          to both defendants in error; Correction: Edited docket text and removed
                          Lindsey Kent Springer from text (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                          2009), 68 Brief in Support of Motion ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (lml, Dpty Clk) (Entered: 05/18/2009)

   05/26/2009    70       ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                          4/22/2009 &directing government to turn over materials to defendant Stilley,
                          ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for Protective
                          Order Pending Prospective Franks Hearing, 42 Response in Opposition to
                          Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of Scheduling
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                          Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), 44 Reply to Response to Motion, 48 Surreply to
                          Motion ) as to Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk)
                          (Entered: 05/26/2009)

   05/29/2009    71       RESPONSE in Opposition to Motion Fifty−one through Sixty−seven (Re: 67
                          MOTION to Dismiss Indictment/Information/Complaint for fraud and violation
                          of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 69 JOINDER (in [51−66] Generally dispositive
                          filed on May 15, 2009), 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by USA as
                          to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          05/29/2009)

   06/01/2009    74       MOTION to Suppress by Lindsey Kent Springer (Springer, Lindsey) Modified
                          on 6/2/2009; This is a multi−part motion, see Doc # 77 for second event (tjc,
                          Dpty Clk). (Entered: 06/01/2009)

   06/01/2009    75       BRIEF in Support of Motion (Re: 74 MOTION to Suppress and For Franks
                          Hearing ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          Modified on 6/2/2009 to seal parts 22, 23 and 24 (s−srb, Dpty Clk). (Entered:
                          06/02/2009) Contains One or More Restricted PDFs

   06/01/2009    77       MOTION for Hearing (submitted as part of Doc # 74 ) by Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 06/02/2009)

   06/02/2009    76       AFFIDAVIT in Support of Motion (Re: 74 MOTION to Suppress and For
                          Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          06/02/2009)

   06/02/2009             NOTICE of Docket Entry Modification; Error: Document # 74 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion part
                          as Document # 77 (Re: 74 MOTION to Suppress ) as to Lindsey Kent Springer
                          (tjc, Dpty Clk) (Entered: 06/02/2009)

   06/02/2009    78
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                          SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One or
                          More Restricted PDFs

    06/02/2009   79       SEALED ORDER (s−srb, Dpty Clk) Modified on 6/2/2009 to seal pdf and
                          correct docket text(s−srb, Dpty Clk) (Entered: 06/02/2009) Contains One or
                          More Restricted PDFs

    06/15/2009   80       RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                          Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand Jury
                          testimony and evidence, 74 MOTION to Suppress ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          06/15/2009)

    06/15/2009   81       REPLY to Response to Motion to Dismiss (Re: 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by Lindsey
                          Kent Springer (With attachments) (Springer, Lindsey) (Entered: 06/15/2009)

    06/15/2009   82       MOTION for Bill of Particulars by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 06/15/2009)

    06/17/2009   85       MINUTE ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM before
                          Judge Stephen P Friot), ruling on motion(s)/document(s): #83 Denied (Re: 82
                          MOTION for Bill of Particulars, 83 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/17/2009)

    06/17/2009   86       MOTION to Strike Document(s) (Re: 81 Reply to Response to Motion,,, ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 06/17/2009)

    06/18/2009   87       ORDER by Judge Stephen P Friot , directing Sur−Reply, ruling on
                          motion(s)/document(s): #86 Denied (Re: 86 MOTION to Strike Document(s),
                          67 MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
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                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          69 JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss Count(s)
                          One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (pll, Dpty Clk) (Entered: 06/18/2009)

    06/18/2009   88       SEALED MOTION (s−srb, Dpty Clk) Modified on 6/19/2009 to correct event
                          (s−srb, Dpty Clk). (Entered: 06/19/2009) Contains One or More Restricted
                          PDFs

    06/19/2009   89       SEALED MINUTE ORDER (s−srb, Dpty Clk) (Entered: 06/19/2009) Contains
                          One or More Restricted PDFs

    06/19/2009   90       MOTION for Leave to Exceed Page Limitation by USA as to Lindsey Kent
                          Springer (Snoke, Kenneth) (Entered: 06/19/2009)

    06/23/2009   91       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                          Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67 MOTION
                          to Dismiss Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                          on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions, 55 Third MOTION to Dismiss Indictment/Information/Complaint
                          pursuant to CIR v. Duberstein, 51 First MOTION to Dismiss
                          Indictment/Information/Complaint for lack of venue, 53 Second MOTION to
                          Dismiss Indictment/Information/Complaint for violations of Paperwork
                          Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          06/23/2009)

    06/25/2009   93       SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                          Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                          Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                          MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 6/29/2009 to
                          change text to reflect correct event and to change links to reflect base motions
                          (sac, Dpty Clk). (Entered: 06/25/2009)

    06/29/2009            NOTICE of Docket Entry Modification; Error: wrong event selected (Reply);
                          wrong links made; Correction: changed text to reflect correct event (Surreply);
                          created links to base motions (Re: 93 Reply, ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/29/2009)

    06/30/2009   94       MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)

    06/30/2009   95       ***Remark: 9 subpoenas returned as to Lindsey Kent Springer (s−srb, Dpty
                          Clk) (Entered: 07/01/2009)

    07/01/2009   96       RESPONSE in Opposition to Motion (Re: 94 MOTION to Quash Subpoenas )
                          by Lindsey Kent Springer (Springer, Lindsey) (Entered: 07/01/2009)
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    07/01/2009    97      RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of Particulars )
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 07/01/2009)

    07/01/2009    98      Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                          correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                          (Entered: 07/01/2009)

    07/01/2009    99      MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to correct
                          file date (lml, Dpty Clk). (Entered: 07/02/2009)

    07/02/2009   100      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                          #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                          Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                          on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions, 77 MOTION for Hearing (submitted as part of Doc # 74 ), 92
                          JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                          Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                          6/15/2009), 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                          2009), 55 Third MOTION to Dismiss Indictment/Information/Complaint
                          pursuant to CIR v. Duberstein, 94 MOTION to Quash, 51 First MOTION to
                          Dismiss Indictment/Information/Complaint for lack of venue, 53 Second
                          MOTION to Dismiss Indictment/Information/Complaint for violations of
                          Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          72 MOTION to Suppress Grand Jury testimony and evidence, 82 MOTION for
                          Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three
                          and Four, 74 MOTION to Suppress ) (Court Reporter: Tracy Washbourne) (pll,
                          Dpty Clk) Modified on 7/8/2009 to indicate attached PDF has incorrect hearing
                          date. Date hearing held was 7/2/2009 (pll, Dpty Clk). (Entered: 07/02/2009)

    07/02/2009   101      MINUTE ORDER by Judge Stephen P Friot : Following the hearing held this
                          date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot, ruling
                          on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash subpoena ) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          07/02/2009)

    07/02/2009   103      SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                          Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
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                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                          07/14/2009) Contains One or More Restricted PDFs

    07/08/2009   102      ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)

    07/14/2009   104      BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          07/14/2009)

    07/30/2009   105      Second MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 07/30/2009)

    08/03/2009   106      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey Kent
                          Springer (Springer, Lindsey) Modified on 8/4/2009 to correct title of event (lml,
                          Dpty Clk). (Entered: 08/03/2009)

    08/03/2009   107      PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)

    08/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correcte event (Re: 106 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                          08/04/2009)

    08/04/2009   111      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                          Denied (Re: 106 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (cds, Dpty Clk) (Entered:
                          08/04/2009)

    08/05/2009   112      RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                          Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                          Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac, Dpty
                          Clk). (Entered: 08/05/2009)

    08/05/2009   113      MOTION to File Out of Time Proposed Jury Instructions by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) Modified on 8/6/2009 to
                          change text to reflect correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                          seal attachment PDF as it was stricken per 117 (sac, Dpty Clk). (Entered:
                          08/05/2009) Contains One or More Restricted PDFs

    08/06/2009            NOTICE of Docket Entry Modification; Error: wrong event selected (Motion to
                          Accelerate/Extend/Reset Hearings/Deadlines); Correction: changed text to
                          reflect correct event (Motion to File Out of Time) (Re: 113 MOTION to File
                          Out of Time ) as to Lindsey Kent Springer (sac, Dpty Clk) (Entered:
                          08/06/2009)

    08/06/2009   114      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
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                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 43 Minutes of Motion Hearing, Minutes of Scheduling
                          Conference, Ruling on Motion(s)/Document(s), Taking Motion(s) Under
                          Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 08/06/2009)

    08/06/2009   115      TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on 7/2/09
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 100 Minutes of Motion Hearing, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) Modified on
                          11/5/2009 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          08/06/2009)

    08/06/2009   116      RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document states it is as
                          to defendant Springer only (sac, Dpty Clk). (Entered: 08/06/2009)

    08/06/2009   117      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #113
                          Denied, striking/withdrawing document(s) (Re: 113 MOTION to File Out of
                          Time ) (Documents Terminated: 113 MOTION to File Out of Time ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/06/2009)

    08/07/2009   118      MOTION to Reconsider (Re: 111 Order, Ruling on Motion(s)/Document(s),
                          117 Order,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 08/07/2009)

    08/12/2009   119      RESPONSE in Opposition to Motion (Re: 118 MOTION to Reconsider ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 08/12/2009)

    08/12/2009   121      REPLY to Response to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          08/12/2009)

    08/12/2009   122      REPLY to Response to Motion (Re: 118 MOTION to Reconsider ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 08/12/2009)

    08/12/2009   123      Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                          (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          08/12/2009)

    08/12/2009   124
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                          Eighth BRIEF in Support of Motion (Re: 123 Eighth MOTION to Dismiss
                          Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 08/12/2009)

    08/13/2009   125      RESPONSE in Opposition to Motion (Re: 123 Eighth MOTION to Dismiss
                          Count(s) One, Two, Three, Four, Five and Six ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 08/13/2009)

    08/13/2009   126      NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/13/2009)

    08/17/2009   127      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #118
                          denied (Re: 111 Order, Ruling on Motion, 117 Order, Ruling on Motion); (Re:
                          118 MOTION to Reconsider ) as to Lindsey Kent Springer (kjp, Dpty Clk)
                          Modified on 8/18/2009 to add links to #111, 117 (kjp, Dpty Clk). (Entered:
                          08/17/2009)

    08/17/2009   128      OBJECTION to Proposed Jury Instructions (Re: 107 Proposed Jury Instructions
                          ) as to Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          08/17/2009)

    08/19/2009   130      REPLY to Response to Motion (Re: 123 Eighth MOTION to Dismiss Count(s)
                          One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 08/19/2009)

    09/10/2009   134      NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 09/10/2009)

    09/16/2009   135      ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)

    09/18/2009   136      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                          denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
                          Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge, 123
                          Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six ) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) (Entered:
                          09/18/2009)

    09/21/2009   137      MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (O'Reilly, Charles) (Entered: 09/21/2009)

    09/21/2009   138      TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Snoke, Kenneth) (Entered: 09/21/2009)

    09/21/2009   139      NOTICE of Government's Proposed Summary of Indictment by USA as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                          9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)

    09/21/2009   141      MOTION for Subpoena(s) under Rule 17 by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 09/21/2009)

    09/21/2009   142      TRIAL BRIEF as to Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 09/21/2009)

    09/21/2009   143      NOTICE Summary of Indictment by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk).
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                          (Entered: 09/21/2009)

    09/21/2009   144      First MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   145      Second MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   146      Third MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   147      Fourth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   148      Fifth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   150      Sixth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   151      Seventh MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   154      OBJECTION to Prosecution 404(b) (Re: 134 Notice (Other) ) by Lindsey Kent
                          Springer (Springer, Lindsey) Modified on 9/22/2009 to reflect correct event
                          (tjc, Dpty Clk). (Entered: 09/21/2009)

    09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 139 MOTION Government's Proposed
                          Summary of Indictment ) as to Lindsey Kent Springer, Oscar Amos Stilley (tjc,
                          Dpty Clk) (Entered: 09/22/2009)

    09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 143 MOTION Summary of
                          Indictment ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 09/22/2009)

    09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Objection) (Re: 154 MOTION Opposition to
                          Prosecution 404(b) ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                          09/22/2009)

    09/22/2009   156      ORDER by Judge Stephen P Friot : setting ex parte hearing, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 10/9/2009 at 01:30 PM before
                          Judge Stephen P Friot) (Re: 152 MOTION for Subpoena(s) pursuant to Rule
                          17(b), 141 MOTION for Subpoena(s) under Rule 17 ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/22/2009)

    09/22/2009   157      ORDER by Judge Stephen P Friot re: 10/9/09 ex parte hearing (Re: 152
                          MOTION for Subpoena(s) pursuant to Rule 17(b), 156 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s),, 141 MOTION for Subpoena(s) under Rule 17 ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          09/22/2009)
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    09/23/2009   158      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 10/21/2009 at 09:00 AM before Judge Stephen P Friot)
                          (Re: 145 Second MOTION in Limine, 150 Sixth MOTION in Limine, 137
                          MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION in Limine
                          regarding hearsay and confrontation issues, 148 Fifth MOTION in Limine,
                          144 First MOTION in Limine, 151 Seventh MOTION in Limine, 147 Fourth
                          MOTION in Limine ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 09/23/2009)

    09/24/2009   159      MOTION Emergency Motion Regarding Denny Patridge by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 09/24/2009)

    09/25/2009   160      SEALED MOTION (O'Reilly, Charles) Modified on 10/9/2009; this document
                          is STRICKEN per 183 (sac, Dpty Clk). (Entered: 09/25/2009) Contains One or
                          More Restricted PDFs

    09/25/2009   161      RESPONSE in Opposition to Motion (Re: 159 MOTION Emergency Motion
                          Regarding Denny Patridge ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 09/25/2009)

    09/25/2009   162      MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          09/25/2009)

    09/27/2009   163      RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                          DEPOSITION ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          09/27/2009)

    09/28/2009   164      REPLY to Response to Motion (Re: 159 MOTION Emergency Motion
                          Regarding Denny Patridge ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/28/2009)

    09/30/2009   165      MINUTE ORDER by Judge Stephen P Friot : Until further notice, all hearings
                          in this case will be held at the Boulder Courthouse, 224 S Boulder, 3rd Floor
                          Courtroom, Tulsa, OK as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 09/30/2009)

    09/30/2009   166      Fourth MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 09/30/2009)

    09/30/2009   167      MOTION to Reconsider (Re: 136 Order,, Ruling on Motion(s)/Document(s),
                          Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 10/1/2009; this is a two−part motion of which only one
                          part was efiled − see 169 for Motion to Clarify (sac, Dpty Clk). (Entered:
                          09/30/2009)

    09/30/2009   168      MOTION Daubert Hearing by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/30/2009)

    09/30/2009   169      MOTION to Clarify (submitted as part of 167 ) (Re: 136 Order,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s) ) by Lindsey Kent
                          Springer (sac, Dpty Clk) (Entered: 10/01/2009)

    10/01/2009            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                          which only one part was efiled; Correction: efiled Motion to Clarify − see 169
                          (Re: 167 MOTION to Reconsider ) as to Lindsey Kent Springer (sac, Dpty Clk)
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                          (Entered: 10/01/2009)

    10/01/2009   170      SEALED DOCUMENT (O'Reilly, Charles) Modified on 10/2/2009 to correct
                          title of event (lml, Dpty Clk). (Entered: 10/01/2009) Contains One or More
                          Restricted PDFs

    10/01/2009   171      RESPONSE in Opposition to Motion (Re: 168 MOTION Daubert Hearing ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 10/01/2009)

    10/05/2009   172      RESPONSE in Opposition to Motion Supplemental (Re: 170 SEALED
                          DOCUMENT ) by Lindsey Kent Springer (Springer, Lindsey) Modified on
                          10/7/2009 to seal pdf pursuant to Court Order # 180 (s−srb, Dpty Clk).
                          (Entered: 10/05/2009) Contains One or More Restricted PDFs

    10/05/2009   173      RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION
                          in Limine regarding hearsay and confrontation issues, 155 JOINDER (in [141,
                          142, 144, 145, 146, 147, 148, 150, and 151] Motions in Limine, for subpoenas
                          pursuant to Rule 17(b), and trial brief filed on 9−21−09), 148 Fifth MOTION in
                          Limine, 144 First MOTION in Limine, 151 Seventh MOTION in Limine, 147
                          Fourth MOTION in Limine ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 10/05/2009)

    10/05/2009   174      SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One or
                          More Restricted PDFs

    10/05/2009   175      RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                          pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                          150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                          trial brief filed on 9−21−09), 141 MOTION for Subpoena(s) under Rule 17 ) by
                          USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 10/05/2009)

    10/05/2009   177      RESPONSE in Opposition to Motion (Re: 137 MOTION in Limine ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 10/05/2009)

    10/06/2009   178      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                          Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)

    10/06/2009   179      MOTION Compel Clerk of Court to Comply with 28 U.S.C. Section 1867(f)
                          and Test v. U.S. by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          10/06/2009)

    10/07/2009   180      SEALED ORDER (s−srb, Dpty Clk) (Entered: 10/07/2009) Contains One or
                          More Restricted PDFs

    10/07/2009   181      SEALED MOTION (O'Reilly, Charles) (Entered: 10/07/2009) Contains One or
                          More Restricted PDFs

    10/07/2009   182      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 10/07/2009) Contains
                          One or More Restricted PDFs

    10/08/2009   183      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 160
                          SEALED MOTION ) (Documents Terminated: 160 SEALED MOTION ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
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                          10/08/2009)

    10/08/2009   184      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #166
                          granted (Re: 166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 10/08/2009)

    10/08/2009   185      RESPONSE in Opposition to Motion (Re: 166 Fourth MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 10/9/2009; this document contains two events and that is not allowed with
                          CM/ECF − see 187 for Motion to Accelerate/Extend/Reset Hearings/Deadlines
                          (sac, Dpty Clk). (Entered: 10/08/2009)

    10/08/2009   186      SEALED ORDER (s−srb, Dpty Clk) (Entered: 10/08/2009) Contains One or
                          More Restricted PDFs

    10/08/2009   187      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) (Re:
                          166 Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent
                          Springer (sac, Dpty Clk) (Entered: 10/09/2009)

    10/09/2009            NOTICE of Docket Entry Modification; Error: this document contains two
                          events and combined documents are not allowed in CM/ECF; Correction: efiled
                          Motion to Accelerate/Extend/Reset Hearings/Deadlines − see 187 (Re: 185
                          Response in Opposition to Motion, ) as to Lindsey Kent Springer (sac, Dpty
                          Clk) (Entered: 10/09/2009)

    10/09/2009   188      RESPONSE in Opposition to Motion (Re: 187 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 10/09/2009)

    10/09/2009   189      NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)

    10/09/2009   190      ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 10/13/2009
                          to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)

    10/09/2009   191      SEALED MINUTES (pll, Dpty Clk) (Entered: 10/13/2009) Contains One or
                          More Restricted PDFs

    10/13/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice−Other); Correction: Edited docket text to reflect correct
                          event (Errata/Correction to Document) (Re: 190 Notice (Other) ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (lml, Dpty Clk) (Entered: 10/13/2009)

    10/13/2009   192      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #187
                          Granted in Part, denied in part (Re: 187 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) (to respond), 185 Response in Opposition to Motion,
                          166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent Springer (pll,
                          Dpty Clk) (Entered: 10/13/2009)

    10/13/2009   193      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #168
                          Granted in part, Denied in part (Re: 168 MOTION Daubert Hearing ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)

    10/13/2009   194      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #167, 169
                          Denied (Re: 169 MOTION to Clarify (submitted as part of 167 ), 167
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                          MOTION to Reconsider ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                          10/13/2009)

    10/13/2009   195      ***Remark: arrest warrant issued for material witness as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 10/14/2009 to
                          unseal docket entry (sjm, Dpty Clk). (Entered: 10/14/2009) Contains One or
                          More Restricted PDFs

    10/14/2009   196      Opposed MOTION ToOrder O'Reilly to Comply with this Court's Order on
                          Rule 15 Deposition and schedule return flight that is reasonable and on
                          Saturday, October 17, 2009, at 3:35 P.M. by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 10/14/2009)

    10/14/2009   197      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #196
                          Denied (Re: 196 Opposed MOTION ToOrder O'Reilly to Comply with this
                          Court's Order on Rule 15 Deposition and schedule return flight that is
                          reasonable and on Saturday, October 17, 2009, at 3:35 P.M. ) as to Lindsey
                          Kent Springer (pll, Dpty Clk) (Entered: 10/14/2009)

    10/14/2009   198      RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                          Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA as
                          to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to delete
                          "as to" Oscar Stilley since this document is only as to Lindsey Kent Springer
                          (sac, Dpty Clk). (Entered: 10/14/2009)

    10/15/2009            NOTICE of Docket Entry Modification; Error: all defendants were selected as
                          to, but document only pertains to Lindsey Springer; Correction: deleted as to
                          defendant Oscar Stilley (Re: 198 Response in Opposition to Motion, ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                          10/15/2009)

    10/16/2009   200      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                          granted with specific limitations (Re: 179 MOTION Compel Clerk of Court to
                          Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey Kent
                          Springer(djh, Dpty Clk) (Entered: 10/16/2009)

    10/19/2009   201      Second BILL OF PARTICULARS (Re: 184 Order, Ruling on
                          Motion(s)/Document(s), 194 Order, Ruling on Motion(s)/Document(s), 166
                          Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent Springer
                          (O'Reilly, Charles) (Entered: 10/19/2009)

    10/20/2009   202      SEALED MOTION (Snoke, Kenneth) (Entered: 10/20/2009) Contains One or
                          More Restricted PDFs

    10/20/2009   203      SEALED ORDER (pll, Dpty Clk) (Entered: 10/20/2009) Contains One or More
                          Restricted PDFs

    10/20/2009   204      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One or
                          More Restricted PDFs

    10/20/2009   205      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One or
                          More Restricted PDFs

    10/21/2009   207      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling on
                          motion(s)/document(s): #137,155 grant in part, deny in part;
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                          144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                          striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third MOTION
                          in Limine, 149 MOTION in Limine regarding hearsay and confrontation
                          issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151]
                          Motions in Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed
                          on 9−21−09), 148 Fifth MOTION in Limine, 159 MOTION Emergency Motion
                          Regarding Denny Patridge, 144 First MOTION in Limine, 205 SEALED
                          MOTION, 206 MOTION to Exclude MENTION OF THE TESTIMONY OF
                          VIKKI WIGGINS PRIOR TO A REASONABLE TIME AFTER
                          PRODUCTION OF THE TRANSCRIPT OF HER TESTIMONY, 151 Seventh
                          MOTION in Limine, 147 Fourth MOTION in Limine ) (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) (Entered: 10/22/2009)

    10/21/2009   208      ***Remark: Deposition Transcript of Vikki Lynn Wiggins received by court as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/22/2009)

    10/24/2009   209      PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (O'Reilly, Charles) (Entered: 10/24/2009)

    10/26/2009   212      RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash Testimony
                          of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly, Charles)
                          Modified on 10/27/2009 to remove Lindsey Kent Springer name from text, as
                          his name should not have been selected, as this pleading does not pertain to him
                          (tjc, Dpty Clk). (Entered: 10/26/2009)

    10/26/2009   213      NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)

    10/26/2009   214      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 10/26/2009) Contains One
                          or More Restricted PDFs

    10/26/2009   215      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir Dire/Jury
                          Selection began as to Lindsey Kent Springer, Oscar Amos Stilley (Court
                          Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/26/2009)

    10/26/2009   216      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir Dire/Jury
                          Selection held on 10/26/2009 as to Lindsey Kent Springer, Oscar Amos Stilley
                          (pll, Dpty Clk) (Entered: 10/26/2009)

    10/26/2009   217      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          began as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                          (Entered: 10/26/2009)

    10/26/2009   218      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held
                          , continued to following day, setting/resetting scheduling order date(s): ( Jury
                          Trial set for 10/27/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/26/2009)

    10/26/2009   219      JOINDER (in 210 Motion to Quash filed on 10/24/09) as to Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 10/26/2009)
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    10/27/2009   220      ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                          witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                          10/27/2009)

    10/27/2009   221      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          ruling on motion(s)/document(s): #210 and 219 denied as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Re: 210 MOTION to Quash Testimony of Vikki
                          Wiggins, 219 JOINDER (in 210 Motion to Quash filed on 10/24/09) ) (cds,
                          Dpty Clk) (Entered: 10/27/2009)

    10/28/2009   222      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting deadline(s)/hearing(s): ( Jury Trial set for 10/29/2009 at 09:00
                          AM before Judge Stephen P Friot, Motion Hearing set for 11/3/2009 at 05:30
                          PM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (cds, Dpty Clk) (Entered: 10/28/2009)

    10/29/2009   223      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          ruling on motion(s)/document(s): #145 and 149 Denied, setting/resetting
                          scheduling order date(s): ( Jury Trial set for 10/30/2009 at 09:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (Re:
                          145 Second MOTION in Limine, 149 MOTION in Limine regarding hearsay
                          and confrontation issues ) (cds, Dpty Clk) (Entered: 10/30/2009)

    10/30/2009   229      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): ( Jury Trial set for 11/2/2009 at 09:00
                          AM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (cds, Dpty Clk) (Entered: 11/03/2009)

    11/01/2009   224      MOTION to Reconsider (Re: 100 Minutes of Motion Hearing,,,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s) ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) Modified on 11/2/2009 to SEAL pdfs per chambers(sac,
                          Dpty Clk). (Entered: 11/01/2009) Contains One or More Restricted PDFs

    11/02/2009   225      RESPONSE in Opposition to Motion and Motion to Seal Attachments (Re: 224
                          MOTION to Reconsider ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 11/02/2009)

    11/02/2009   226      SEALED ORDER (s−srb, Dpty Clk) (Entered: 11/02/2009) Contains One or
                          More Restricted PDFs

    11/02/2009   230      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following day ( Jury
                          Trial set for 11/3/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy
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                          Washbourne) (pll, Dpty Clk) (Entered: 11/03/2009)

    11/03/2009   227      OBJECTION regarding "gift" as to Lindsey Kent Springer (Springer, Lindsey)
                          Modified on 11/4/2009 to correct event (tjc, Dpty Clk). (Entered: 11/03/2009)

    11/03/2009   228      NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to correct event
                          (tjc, Dpty Clk). (Entered: 11/03/2009)

    11/03/2009   231      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following day ( Jury
                          Trial set for 11/4/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/03/2009)

    11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Objection) (Re: 227 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 11/04/2009)

    11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Notice) (Re: 228 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          11/04/2009)

    11/04/2009   233      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): (continued to following day) ( Jury
                          Trial set for 11/5/2009 at 08:15 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/04/2009)

    11/05/2009   234      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held
                          continued to following Monday, setting/resetting scheduling order date(s): (
                          Jury Trial set for 11/9/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/05/2009)

    11/05/2009   235      ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)

    11/08/2009   236      PROPOSED JURY INSTRUCTIONS as to Venue, District Director and
                          Materiality as to Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          (Entered: 11/08/2009)

    11/08/2009   237      PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)

    11/09/2009   239      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held
                          , continued to following day, setting/resetting scheduling order date(s): ( Jury
                          Trial set for 11/10/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/09/2009)

    11/10/2009   240      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to Thursday ( Jury Trial set
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                          for 11/12/2009 at 09:00 AM before Judge Stephen P Friot) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/10/2009)

    11/12/2009   241      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following day ( Jury
                          Trial set for 11/13/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/12/2009)

    11/13/2009   242      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following Monday ( Jury
                          Trial set for 11/16/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/13/2009)

    11/16/2009   243      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          completed, striking/terminating deadline(s)/hearing(s) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 11/17/2009)

    11/16/2009   244      JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)

    11/16/2009   245      JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count 1,2,3−4,5−6
                          and Oscar Amos Stilley (2) Guilty on Count 1,3−4 (pll, Dpty Clk) (Entered:
                          11/17/2009)

    11/16/2009   246      SEALED EXHIBIT(S) to Order/Minutes (Re: 243 Minutes of Jury Trial
                          Completed, Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk)
                          (Entered: 11/17/2009) Contains One or More Restricted PDFs

    11/17/2009   247      ORDER by Judge Stephen P Friot setting supplemental conditions following
                          trial, ruling re: modification of conditions of pretrial release as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)

    11/19/2009   248      MOTION Extension to File Motion for New Trial by Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 11/20/2009; This is a two−part motion, see
                          Doc # 249 for second event (tjc, Dpty Clk). (Entered: 11/19/2009)

    11/19/2009   249      MOTION for Judgment of Acquittal (submitted as part of Doc # 248 ) by
                          Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009; ENTERED IN
                          ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)

    11/20/2009            NOTICE of Docket Entry Modification; Error: Document # 248 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion part
                          as Document # 249 (Re: 248 MOTION Extension to File Motion for New Trial
                          ) as to Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009;
                          ENTERED IN ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)

    11/20/2009   250      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #248
                          Granted (Re: 248 MOTION Extension to File Motion for New Trial ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/20/2009)

    11/20/2009   252      RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's motion
                          for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                          Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (With
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                          attachments) (O'Reilly, Charles) (Entered: 11/20/2009)

    11/30/2009            ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                          number 09−5165 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                          11/30/2009)

    12/04/2009   256      ORDER from Circuit Court denying petition for writ of mandamus (Re:
                          Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered: 12/04/2009)

    12/07/2009   257      REPLY to Response to Motion to Dismiss, Mistrial and Reconsider (Re: 224
                          MOTION to Reconsider ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) Modified on 12/10/2009 to seal PDF; Document
                          STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered: 12/07/2009) Contains
                          One or More Restricted PDFs

    12/08/2009   259      MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                          Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)

    12/08/2009   260      MOTION for Judgment of Acquittal by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 12/10/2009 to seal PDF; Document STRICKEN per
                          Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                          Restricted PDFs

    12/08/2009   262      MOTION for New Trial by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 12/08/2009)

    12/09/2009   264      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                          Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                          Document(s), 261 MOTION for Judgment of Acquittal and MOTION for New
                          Trial, 257 Reply to Response to Motion, 258 Reply to Response to Motion, 260
                          MOTION for Judgment of Acquittal, 262 MOTION for New Trial )
                          (Documents Terminated: 257 Reply to Response to Motion, 261 MOTION for
                          Judgment of Acquittal and MOTION for New Trial, 258 Reply to Response to
                          Motion, 260 MOTION for Judgment of Acquittal ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 12/09/2009)

    12/10/2009   265      MOTION to Vacate/Set Aside Order dated December 9, 2009, MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal Rules
                          12.1, MOTION 10 days from date of order to refile docket # 257 and # 260 in
                          accordance with Local Civil Rule 7.2 including extended page number therein
                          (Re: 264 Order,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s),,, 257 Reply to Response to Motion, 260
                          MOTION for Judgment of Acquittal ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/10/2009)

    12/11/2009   266      RESPONSE in Opposition to Motion (Re: 265 MOTION to Vacate/Set Aside
                          Order dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                          properly filed under Local Criminal Rules 12.1 MOTION 10 days from date of
                          order to refile docket # 257 and # 260 in accordance with Local Civil Rule 7.2
                          including extended page number therein ) by USA as to Lindsey Kent Springer
                          (With attachments) (O'Reilly, Charles) (Entered: 12/11/2009)
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    12/28/2009   270      AFFIDAVIT of Lindsey K. Springer pursuant to Title 28, Section 144 as to
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          12/28/2009)

    12/28/2009   271      MOTION Disqualify, Recuse, Removal and for Random Reassignment by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 12/28/2009)

    12/28/2009   272      BRIEF in Support of Motion (Re: 271 MOTION Disqualify, Recuse, Removal
                          and for Random Reassignment ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 12/28/2009)

    12/28/2009   273      MOTION to Strike Document(s) (Re: 266 Response in Opposition to Motion,
                          259 MOTION to Strike Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/28/2009)

    12/28/2009   274      REPLY to Response to Motion (Re: 265 MOTION to Vacate/Set Aside Order
                          dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                          properly filed under Local Criminal Rules 12.1 MOTION 10 days from date of
                          order to refile docket # 257 and # 260 in accordance with Local Civil Rule 7.2
                          including extended page number therein ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/28/2009)

    12/29/2009   275      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 12/30/2009) Contains One
                          or More Restricted PDFs

    01/07/2010   276      RESPONSE in Opposition to Motion (Re: 262 MOTION for New Trial ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 01/07/2010)

    01/07/2010   277      RESPONSE in Opposition to Motion (Re: 271 MOTION Disqualify, Recuse,
                          Removal and for Random Reassignment ) by USA as to Lindsey Kent Springer
                          (With attachments) (O'Reilly, Charles) (Entered: 01/07/2010)

    01/20/2010   279      MOTION for Leave to Exceed Page Limitation in Reply Regarding Springer's
                          Motion for New Trial, by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          01/20/2010)

    01/20/2010   280      MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue (Re: 2
                          Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          01/20/2010)

    01/20/2010   281      BRIEF in Support of Motion (Re: 280 MOTION to Dismiss Count(s) ONE for
                          lack of Article III Subject Matter Jurisdiction, Article III Jurisdiction of the
                          Facts and Article III Venue ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 01/20/2010)

    01/20/2010   282      MOTION to Dismiss Count(s) Two, Three, Four, Five and Six for Lack of
                          Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and
                          Article III Venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 01/20/2010)

    01/20/2010   283      BRIEF in Support of Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 01/20/2010)
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    01/20/2010   284      MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in support thereof (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 01/20/2010)

    01/21/2010   285      MOTION to Strike Document(s) 276 and 277 (Re: 277 Response in Opposition
                          to Motion, 276 Response in Opposition to Motion ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 01/21/2010)

    01/21/2010   286      REPLY to Response to Motion (Re: 271 MOTION Disqualify, Recuse,
                          Removal and for Random Reassignment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 01/21/2010)

    01/21/2010   287      REPLY (Re: 270 Affidavit ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 01/21/2010)

    01/21/2010   288      REPLY to Response to Motion (Re: 262 MOTION for New Trial ) by Lindsey
                          Kent Springer (With attachments) (Springer, Lindsey) (Entered: 01/21/2010)

    01/22/2010   289      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #279
                          Granted (Re: 279 MOTION for Leave to Exceed Page Limitation in Reply
                          Regarding Springer's Motion for New Trial,, 262 MOTION for New Trial ) as
                          to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 01/22/2010)

    01/22/2010   290      SCHEDULING ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Sentencing set for 4/19/2010 at 10:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 01/22/2010)

    01/25/2010   291      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Sentencing set for 4/21/2010 at 10:00 AM before Judge Stephen P Friot) (Re:
                          290 Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s) ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/25/2010)

    01/27/2010   292      RESPONSE in Opposition to Motion (Re: 282 MOTION to Dismiss Count(s)
                          Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 280
                          MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 285
                          MOTION to Strike Document(s) 276 and 277, 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) by USA as to Lindsey Kent Springer (Snoke, Kenneth)
                          (Entered: 01/27/2010)

    01/28/2010   293      OPINION AND ORDER by Judge Stephen P Friot, ruling on
                          motion(s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                          MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal Rules
                          12.1 MOTION 10 days from date of order to refile docket # 257 and # 260 in
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                          accordance with Local Civil Rule 7.2 including extended page number therein,
                          267 MOTION to Reconsider, 232 JOINDER in Springer's motion for
                          reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION for New Trial,
                          224 MOTION to Reconsider, 273 MOTION to Strike Document(s), 271
                          MOTION Disqualify, Recuse, Removal and for Random Reassignment, 285
                          MOTION to Strike Document(s) 276 and 277 ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/28/2010)

    02/01/2010   295      MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six regarding
                          regulations not in compliance with APA (Re: 2 Indictment ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 02/01/2010)

    02/03/2010   299      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                          denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                          Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove Lindsey
                          Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)

    02/04/2010   302      RESPONSE in Opposition to Motion (Re: 295 MOTION to Dismiss Count(s)
                          One, Two, Three, Four, Five and Six regarding regulations not in compliance
                          with APA ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          02/04/2010)

    02/05/2010   303      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s), Monthly
                          MOTION Stay pending ruling from Supreme Court in 09−8701 and brief by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) Modified on
                          2/11/2010 to seal pdf as this document is STRICKEN per 307 (sac, Dpty Clk).
                          (Entered: 02/05/2010) Contains One or More Restricted PDFs

    02/08/2010   304      MOTION to Strike Document(s) (Re: 303 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                          pending ruling from Supreme Court in 09−8701 and brief ) by USA as to
                          Lindsey Kent Springer (O'Reilly, Charles) Modified on 2/11/2010 to seal pdf as
                          this document is STRICKEN per 307 (sac, Dpty Clk). (Entered: 02/08/2010)
                          Contains One or More Restricted PDFs

    02/08/2010   305      MOTION to Withdraw Document(s) (Re: 303 MOTION to
                          Accelerate/Extend/Reset Hearings/Deadlines) as to Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 2/9/2010 to correct title of event (lml, Dpty
                          Clk). (Entered: 02/08/2010)

    02/08/2010   306      MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                          Court in 09−8701 by Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 02/08/2010)

    02/09/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice); Correction: Edited docket text to reflect correct event
                          (Motion to Withdraw Documents) (Re: 305 MOTION to Withdraw
                          Document(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                          02/09/2010)

    02/10/2010   307      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #303
                          Stricken as Moot; #304 Stricken as Moot; #305 Granted, striking/withdrawing
                          document(s) (Re: 304 MOTION to Strike Document(s), 305 MOTION to
                          Withdraw Document(s), 303 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)Monthly MOTION Stay pending ruling from Supreme
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                          Court in 09−8701 and brief ) (Documents Terminated: 303 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                          pending ruling from Supreme Court in 09−8701 and brief, 305 MOTION to
                          Withdraw Document(s), 304 MOTION to Strike Document(s) ) as to Lindsey
                          Kent Springer (djh, Dpty Clk) (Entered: 02/10/2010)

    02/10/2010   308      REPLY to Response to Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 280 MOTION to
                          Dismiss Count(s) ONE for lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 284 MOTION to
                          Dismiss Indictment/Information/Complaint for lack of Article III Standing of
                          United States of America, (2) lack of Article III Case or Controversy, (3) for
                          violation of Title 28, United States Code, Section 547, and accompanying brief
                          in MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 02/10/2010)

    02/12/2010   310      RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                          Judge Friot pending determination by Surpeme Court in 09−8701, 309
                          JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 02/12/2010)

    02/18/2010   311      REPLY to Response to Motion (Re: 295 MOTION to Dismiss Count(s) One,
                          Two, Three, Four, Five and Six regarding regulations not in compliance with
                          APA ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 02/18/2010)

    02/22/2010   312      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #280, 282,
                          284, 306 Denied, #309 Granted (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 306 MOTION Stay
                          all Orders by Judge Friot pending determination by Surpeme Court in 09−8701,
                          280 MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 309
                          JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10), 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 02/22/2010)

    02/23/2010   313      ORDER by Judge Stephen P Friot re: consideration of non−standard
                          conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 02/23/2010)

    02/25/2010   314      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                          Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
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                          and Six regarding regulations not in compliance with APA ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)

    03/16/2010   315      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 03/16/2010) Contains
                          One or More Restricted PDFs

    03/25/2010   316      ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                          pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                          Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered: 03/25/2010)

    03/25/2010   317      NOTICE of Docket Entry Modification; Error: Document not attached;
                          Correction: Attached document and included here (Re: 316 Order, Ruling Re:
                          Modification of Conditions of Pretrial Release ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/25/2010)

    03/30/2010   318      NOTICE Regarding Defendants' Reference to Variance in Objections to PSIR
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 03/30/2010)

    03/30/2010   319      EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          03/30/2010)

    03/30/2010   321      SENTENCING MEMORANDUM as to Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 03/31/2010)

    04/04/2010   322      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of
                          Sentencing (Re: 290 Scheduling Order, Setting/Resetting
                          Deadline(s)/Hearing(s), 291 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s),, ) by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 04/04/2010)

    04/05/2010   323      RESPONSE in Opposition to Motion (Re: 322 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of
                          Sentencing ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          04/05/2010)

    04/05/2010   324      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #322
                          denied (Re: 322 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          Continuance of Sentencing MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) Continuance of Sentencing ) as to Lindsey Kent
                          Springer (hbo, Dpty Clk) (Entered: 04/05/2010)

    04/06/2010   325      EXHIBIT LIST as to Lindsey Kent Springer (Springer, Lindsey) Modified on
                          4/7/2010; This is a multi−event document, see Document # 327 for second
                          event (tjc, Dpty Clk). (Entered: 04/06/2010)

    04/06/2010   327      WITNESS LIST (submitted as part of Doc # 325 ) as to Lindsey Kent Springer
                          (tjc, Dpty Clk) (Entered: 04/07/2010)

    04/07/2010            NOTICE of Docket Entry Modification; Error: This is a multi−event document,
                          which is not allowed in CM/ECF; Correction: Filed the remaining event
                          (Witness List) as Document # 327 (Re: 325 Exhibit List ) as to Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 04/07/2010)
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    04/09/2010   331       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #326
                           Denied (Re: 326 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                           to continue sentencing until proper notice has been given ) as to Oscar Amos
                           Stilley Modified on 4/23/2010 to show Oscar Amos Stilley as single filer(cds,
                           Dpty Clk). (Entered: 04/09/2010)

    04/09/2010   332       REPLY (Re: 321 Sentencing Memorandum ) by USA as to Lindsey Kent
                           Springer (O'Reilly, Charles) (Entered: 04/09/2010)

    04/16/2010   333       SEALED DOCUMENT (O'Reilly, Charles) (Entered: 04/16/2010) Contains
                           One or More Restricted PDFs

    04/23/2010   336       MINUTES of Proceedings − held before Judge Stephen P Friot: Sentencing
                           held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                           Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                           attachments) (pll, Dpty Clk) (Entered: 04/28/2010)

    04/23/2010   339   40 MOTION for Stay of Execution of Sentence, MOTION for Release Pending
                          Appeal by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)

    04/23/2010   340   38 NOTICE OF APPEAL to Circuit Court (Re: 337 Judgment and Commitment,
                          Entering Judgment ) as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered:
                          04/29/2010)

    04/23/2010   341       APPEAL FEES Paid in Full (Re: 340 Notice of Appeal to Circuit Court ) by
                           Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)

    04/27/2010   334       ORDER by Judge Stephen P Friot entered without prejudice to the right of
                           standby counsel to apply for compensation for their services, terminating
                           attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                           Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)

    04/27/2010   335       ***Remark: Order [Dkt. #334] mailed to each defendant c/o David L. Moss
                           Correctional Center, 300 N. Denver Ave., Tulsa, OK 74103 (Re: 334 Order,,
                           Adding/Terminating Attorney(s), Adding/Terminating Attorney(s) ) as to
                           Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered:
                           04/27/2010)

    04/28/2010   337   32 JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                          judgment as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/28/2010)
         Case 4:09-cr-00043-SPF   Document
                     Case 4:09-cr-43       342-1337
                                      Document   Filed inFiled
                                                           USDC   ND/OK on 04/29/10
                                                               04/28/2010  Page 1 of Page
                                                                                     6    32 of 47
 ~AO 245B       (Rev. 09/08) Judgment in a Criminal Case
                Sheet I
                                                                                                                    F I L E D
                                           UNITED STATES DISTRICT COURT                                                    Apr 28 2010

                       NORTHERN                                   District of                              OKLAHOMA
                                                                                                               Phil Lombar
                                                                                                                           di, Cle            rk
           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                               v.
             LINDSEY KENT SPRINGER                                        Case Number:                     09-CR-043-00 I-SPF
                                                                          USMNumber:                       02580-063

                                                                          Lindsey Kent Springer, Pro Se
                                                                          Robert Scott Williams, Standby Counsel
                                                                          Defendant's Attorney
THE DEFENDANT:
[]   pleaded guilty to count(s)
[]   pleaded nolo contendere to count(s)
     which was accepted by the court.
[x] was found gUilty on counts           One, Two, Three, Four, Five, and Six of the Indictment
    after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:

Title & Section                     Nature of Offense                                                      Offense Ended               Count
18 U.S.C. § 371                     Conspiracy to Defraud the United States                                   1115/09                    1
26 U.S.C. § 7201                    Tax Evasion                                                               1115/09                    2
26 U.S.C. § 7201 and 18             Tax Evasion and Aiding and Abetting                                        1115/09                   3
U.S.C. § 2
26 U.S.C. § 7201 and 18             Tax Evasion and Aiding and Abetting                                        1115/09                    4
U.S.C. § 2
26 U.S.C. § 7203                  Failure to File Tax Return (Misdemeanor)                                     4/15/03                    5
26 U.S.C. § 7203                  Failure to File Tax Return (Misdemeanor)                                     4115/05                    6

       The defendant is sentenced as provided in pages 2 through          _-...:::.6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[]   The defendant has been found not guilty on count(s)
[]   Count(s)   ______________ D is                                o are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States Attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notifY the Court and United States Attorney of material changes m economic circumstances.

                                                                          April 23, 2010




                                                                          Signature oifudge




                                                                          The Honorable Stephen P. Friot, U.S. District Judge
                                                                          Name and Title ofJudge



                                                                          Date   a~ &J; <1:0 10
          Case 4:09-cr-00043-SPF   Document
                      Case 4:09-cr-43       342-1337
                                       Document   Filed inFiled
                                                            USDC   ND/OK on 04/29/10
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                                                                                      6    33 of 47
AO 245B        (Rev. 09/08) Judgment in Criminal Case
               Sheet 2 - Imprisonment
                                                                                                    Judgment - Page _   ....
                                                                                                                         2_    of    6
DEFENDANT:                        Lindsey Kent Springer
CASE NUMBER:                      09-CR-043-00 I-SPF


                                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:    180 months. Said tenn consists of sixty months as to each of Counts One, Two, Three, and Four, and twelve months as to
                  each ofCounts Five and Six. The tenns imposed as to Counts Four, Five, and Six shall run concurrently with each other and
                  with the tenns imposed as to Counts One, Two, and Three. The terms imposed as to Counts One, Two, and Three shall run
                  consecutively to each other.




[x]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends the defendant be placed in a facility as close to Tulsa, Oklahoma, as possible. The Court directs the Bureau
        of Prisons not to incarcerate the defendant with his co-defendant, Oscar Amos Stilley (USM Number 10579-062).



[x]     The defendant is remanded to the custody of the United States Marshal.


 []     The defendant shall surrender to the United States Marshal for this district:
          []     at                                     []   a.m.   []   p.m.    on
          []       as notified by the United States Marshal.

 []     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          []     before 12 noon on
          []       as notified by the United States Marshal.
          []       as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                           to

at    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                          DEPUTY UNITED STATES MARSHAL
 AO 245B        (Rev. 09/08) Judgment in a Criminal Case
              Case
               Sheet 34:09-cr-00043-SPF
                               Case
                       - Supervised              Document
                                         4:09-cr-43
                                    Release               342-1337
                                                     Document   Filed inFiled
                                                                          USDC   ND/OK on 04/29/10
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                                                                                                    6    34 of 47
                                                                                                            Judgment-Page _ _
                                                                                                                            3 _ of             6
     DEFENDANT:                   Lindsey Kent Springer
     CASE NUMBER:                 09-CR-043-00 I-SPF
                                                           SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of: Three years. Said term consists of three years as
     to each of Counts One, Two, Three, and Four and one year as to Counts Five and Six. These terms of supervised release shall run concurrently,
     each with the others.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
     of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
     []    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse, but authority to administer drug testing for cause is retained. (Check, if applicable.)
     [x]   The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
     [x]   The defendant shall cooperate in the collection of DNA as directed by the probation offIcer. (Check, if applicable.)
     []    The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.c. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prison, or any state sex offender registration agency in which he or slie resides, works,
           or is a student, or was convicted of a qualifying offense. (Check, if applicable.)
     []    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

             If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
1.          The defendant shall not leave the judicial district or other specifIed geographic area without the permission of the court or probation
            officer.
2.          The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete
            written report within the fIrst fIve days of each month.
3.          The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.          The defendant shall support the defendant's dependents and meet other family responsibilities (including, but not limited to, complying
            with the terms of any court order or administrative process pursuant to the law of a state, the District of Columbia, or any other
            possession or territory of the United States requiring payments by the defendant for the support and maintenance of any child or of a
            child and the parent with whom the child is living).
5.          The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
            acceptable reasons.
6.          The defendant shall notify the probation officer at least ten days prior to any change of residence or employment.
7.          The defendant shall refram from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.
8.          The defendant sha11 not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other
            places specifIed by the court.
9.          The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a
            felony unless granted permission to do so by the probation officer.
10.         The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confIscation of
            any contraband observed in plain view by the probation officer.
11.         The defendant shall notify die probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.
12.         The defendant shall not enter into any agreement to act as an mformer or a special agent of a law enforcement agency without the
            permission of the court.
13.         As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics, and shall permit the probation officer to make such notifIcations and to confIrm the
            defendant s compliance with such notifIcation requirement (any objection to such notifIcation shall be decided by the district court).
14.         The defendant sliall pay the special assessment imposed or adhere to a court-ordered installment schedule for the payment of the
            special assessment.
15.         The defendant shall notify the probation officer of any material change in the defendant's economic circumstances that might affect the
            defendant's ability to pay any unpaid amount of restitution, fmes, or special assessments.
     A0245B       (Rev. 09/08) Judgment in a Criminal Case
              CaseSheet
                    4:09-cr-00043-SPF
                             Case 4:09-cr-43
                        3C - Supervised Release Document 342-1337
                                                    Document   Filed inFiled
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                                                                                                                  Judgment-Page _..;:;.4_ of             6
     DEFENDANT:                    Lindsey Kent Springer
     CASE NUMBER:                  09-CR-043-00 I-SPF
                                              SPECIAL CONDITIONS OF SUPERVISION
 1.       The defendant shall submit his person, residence, office or vehicle to a search, conducted by the United States Probation Officer at a reasonable
          time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to
          submit to a search mal' be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches
          pursuant to this conditIOn.
2.        The defendant shall abide by the "Special Financial Conditions" previously adopted by the Court, as follows:
           1.       The defendant shall maintain a checking account in the defendant's name and deposit into this account all income, mone~ gains or
                    other pecuni~ proceeds, and make use ofthis account for payment ofall personal expenses. All other bank accounts must be disclosed
                    to the probatton officer.
          2.        The defendant shall not make application for any loan or enter into any credit arrangement, without first consulting with the probation
                    officer.
          3.        The defendant shall disclose all assets and liabilities to the probation officer. The defendant shall not transfer, sell, give-away, or
                    otherwise convey any asset, without first consulting with the probation officer.
          4.        If the defendant owns or maintains interest in any profit or nonprofit entity, you shall, upon reques1 surrender and/or make available
                    for review, any and all documents and records of said profit or nonprofit entity to the probation ofncer.
          5.        The defendant shall, upon request of the probation officer, complete a personal financial affidavit and authorize release of any and all
                    financial information, to include income and tax return records, By execution ofa Release ofFinancial Information form, or by any other
                    appropnate means.
3.        The defendant shall abide by the "Special Computer Restriction Conditions" previously adopted by the Court, as follows:
          1.        The defendant shall disclose all e-mail accounts, Internet connections and Internet connection devices, including screen names and
                    passwords, to the probation officer; and shall immediately advise the probation officer of any changes in his or ner e-mail accounts,
                    connections, devices, or passwords.
          2.        The probation officer shall have authority to monitor all computer activity, to include all e-mail or Internet connections, to include but
                    not hmited to installation ofremote monitoring software. Unless waived by the probation officer, the cost ofremote monitoring software
                    shall be paid by the defendant.
          3.        The defendant shall not access anyon-line service using an alias, or access anyon-line service using the Internet account, name; or
                    desig~ation ofanother person or entity; and report immediately to the probation officer access to any Internet site containing prohibited
                    matenal.
          4.        The defendant is pr~hi~ited from using any form ofencryption cryptograph¥, stenography, compression, password-protected files or
                    other methods that hmlt access to, or change the appearance 01,J data andfor Images.
          5.        The defendant is erohibited from altering or destroying records of computer use, including the use of software or functions designed
                    to alter, clean or ' wipe"computer media, block monitoring software, or restore a computer to a previous state.
          6.        If instructed, the defendant shall provide all personal and business telephone records and credit card statements to the probation officer
4.        While on supervision, the defendant shall cooperate with the IRS in preparing and filing true and correct income tax returns for any tax years since
          1987 for wlilch the defendant has not filed a tax return; coo~rate witli the IRS in civiJ proceedings to determine accurately his tax liabilities for
          the same years; establish a payment schedule with the IRS and pay all taxes, interest, and penalties owed in connection with his tax debt according
          to the payment schedule set by the IRS.
5.        The defendant shall not engage in any activity that would constitute the unauthorized or unlicensed practice of law, nor provide representation
          or services of any kind advice, suggestions, or recommendations, whether paid or not, to any' person or entity, public or private other than
          immediate family members, with respect to any matter relating to federal or state taxation. The aefendant will maintain no website that refers to
          anX matter relating to federal or state taxation. The defendant will post no material of any kind on any website that refers to any matter relating
          to federal or state taxation. The defendant will not file l without the expressed written permission ofthe Probation Office, any ciVil action relating
          to federal income tax. Further, the defendant is prohioited from engaging in any activities in or under the name of Bondage Breakers Ministry.
6.        The defendant shall not work directly or indirect1.Y. in any business, profession, or self-employment engag,ed in the offer sale, purchase, trade,
          brokering, solicitation, or similar transactions With respect to any real property, securities or negotiaBle Instruments. The defendant will not
          engage in telemarketing activities; to include any' telephone sales or other such Business, campaign, venture, or transaction. The defendant shall
          mal!"!tai~ employment. All emplO)'l1}ent must b~ a;pproved in advance by the Probation Officer. The defendant shall abide by electronic
          momtonng, curfew reqUIrements, and travel restnctlons.
7.        If instructed by the Probation Officer, the defendant shall provide originals or cOl!ies of all personal and business telephone phone records and
          all credit card, checking account and PayPal statements to the U.S. Probation Officer.
8.        The defendant shall report to the Probation Officer the particulars, as specified by the Probation Officer, of all transactions consummated with
          a check cashing service. These reports shall be made within 10 calendar (lays after completion ofany such transaction. The defendant shall refrain
          from transacting business with any check cashing service if so directed by the Probation Officer.
9.        The defendant shall disclose all email accounts.PayPalaccounts.internetConnectionsandcommunicationdevis~s.. toinclude all screen names
          and passwords. Your use of email, internet connections, or an mternet connection service will be restricted anilior monitored by monitoring
          softWare and otherwise, with the costs of remote computer monitoring to be paid by the defendant. The defendant will be prohibited from
          accessing anyon-line service using an alias or the internet account, name or designation or another person or entity. The defendant will be
          prohibitea from altering or using any form ofencryption or other methods that limit access to, or change, the appearance of data or images. The
          defendant will be prohibited from altering or destroying records of computer use.
AO 2458            (Rev. 09/08) Judgment in a Criminal Case
                 Case
                   Sheet 4:09-cr-00043-SPF
                         5 Criminal Case         Penalties Document
                                             4:09-cr-43
                                      Monetary                      342-1337
                                                               Document   Filed inFiled
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                                                                                                                                         Judgment - Page       5        of
 DEFENDANT:                                   Lindsey Kent Springer
 CASE NUMBER:                                 09-CR-043-00 I-SPF
                                                           CRIMINAL MONETARY PENALTIES
             The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                                Assessment                                                               Fine                                  Restitution
 TOTALS                     $ 450                                                                       $ N/A                               $ 771,529
                               (Counts On~ TwohThree,
                               and Four $luO eac ; Counts
                               Five and Six $25 each)
     []      The determination of restitution is deferred until                    _ _ _ _ _,. An Amended Judgment in a Criminal Case (AO 245C) will be
             entered after such determination.

     [xl     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant makes a p,!ll1ial payment, each pl!yee shall receive an approximately proportioned paymentl- unless Ilpecified otherwise in the priority order or percentage
             payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid beIore the United States is paid.

Name of Payee                                                  Total Loss*                                         Restitution Ordered                     Priority or Percentage
IRS-RACS                                                                                                                $ 691,343
Attention: Mail Stop 6261
Restitution
333 West Pershing Ave.
Kansas City, Missouri 64108

Oklahoma Tax Commission                                                                                                 $   80,186
General Counsels Office
120 North Robinson
Suite2000W
Oklahoma City, Oklahoma
73102
Attn: Marjorie Welch




TOTALS                                          $                                        o               $                  771,529


[]         Restitution amount ordered pursuant to plea agreement $

[]         The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine is paid in full before the
           fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(t). All ofthe payment options on Sheet 6 may be subject
           to penalties fur delinquency and default, pursuant to 18 U.S.c. § 3612(g).

[]         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            []    the interest requirement is waived for the                  I]        fine       [J        restitution.

            []    the interest requirement for the                [J   fine        []        restitution is modified as follows:



* Fi!ldings for the total amount of losses are required under Chapters 109A, I10, II OA, and I13A ofTitle 18 for offenses committed on or after September 13, 1994, but before
ApnI23,1996.
AD 245B        (Rev. 09/08) Judgment in a Criminal Case
          Case
            Sheet 4:09-cr-00043-SPF
                           Case
                  6 - Schedule               Document
                                     4:09-cr-43
                               of Payments            342-1337
                                                 Document   Filed inFiled
                                                                      USDC   ND/OK on 04/29/10
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                                                                                                             Judgment - Page _~6_      of
DEFENDANT:                      Lindsey Kent Springer
CASE NUMBER:                    09-CR-043-00 I-SPF
                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties are due as follows:

 A        []    Lump sum payment of$ _ _ _ _ _ _ _ due immediately, balance due

                 o not later than _ _ _ _ _ _ _ _ __ , or
                 []   in accordance with        []   C,   [J   D,   [J   E,or        [] F below; or

 B        []    Payment to begin immediately (may be combined with              II   C,   [] D, or    I]   F below); or

 C        []    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
               _ _ _ _ _ (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date ofthis judgment; or

 D        []    Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                    over a period of
               _ _~__ (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

 E        []    Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     [x] Special instructions regarding the payment of criminal monetary penalties:
                Any criminal monetary penalty is due in full immediately, but payable on a schedule ofthe greater of$25 quarterly or 50% ofincome
                pursuant to the Federal Bureau ofPrlsons' Inmate Financial Responsibility Program while in prison. Ifa monetary balance remains,
                payment is to commence no later than 60 days following release from imprisonment to a term ofsupervised release in equal monthly
                payments of$lOO or 10% of net income (take home pay), whichever is greater, over the duration ofthe term of supervised release
                ana thereafter as prescribed by law for as long as some debt remains. Notwithstanding establishment of a payment schedule, nothing
                shall prohibit the United States from executing or levying upon property of the defenoant discovered before or after the date of this
                Judgment.




 Unless the court has expresslr ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!m:Y penalties is due during
 imprisonment. All cnmina monetary penaltie; except those payments made throUgh the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk or the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  [J   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 []    The defendant shall pay the cost of prosecution.
 £]    The defendant shall pay the following court cost(s):
 o     The defendant shall forfeit the defendant's interest in the following property to the United States:


 Pa)'I!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1340
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1340
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
                                                  USDC   ND/OK on 04/29/10
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                                                                            8    46 of 47
Case 4:09-cr-00043-SPF   Document
            Case 4:09-cr-43       342-1339
                             Document   Filed inFiled
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